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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             (OXFORD DIVISION)


UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 3:16cr21-DMB-SAA-1

TERRY KELLY

                         ORDER SUBSTITUTING COUNSEL

           The Federal Public Defender has moved Ore Tenus for an order substituting

counsel in the above-styled and numbered cause due to a potential conflict of interest.

The Office of the Federal Public Defender contacted Attorney Philip H. Neilson on

February 29, 2016, who has agreed to be appointed as counsel to represent this defendant

in this cause and has agreed to be substituted as counsel for the defendant.

       Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

       The Office of the Federal Public Defender is hereby released from the obligation

of the representation of this defendant and any other responsibilities concerning the

above-styled and numbered cause and that Philip H. Neilson substituted as counsel of

record for the defendant in this cause.

       IT IS SO ORDERED this the 29th day of February, 2016.



                                      __/s/ S. Allan Alexander _____
                                      UNITED STATES MAGISTRATE JUDGE
